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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

_____________________________________
                                         )
RALLS CORPORATION,                       )
                                         )
                 Plaintiff,              )
        v.                               )
                                         )
COMMITTEE ON FOREIGN                     )
INVESTMENT IN THE UNITED STATES, )
                                         )           Case No. 1:12-cv-01513-ABJ
                 and                     )
                                         )
TIMOTHY F. GEITHNER,                     )
in his official capacity as              )
Secretary of the Treasury and            )
Chairperson of the Committee on          )
Foreign Investment in the United States, )
                                         )
                 Defendants.             )
_____________________________________)


    NOTICE OF WITHDRAWAL OF MOTION FOR TEMPORARY RESTRAINING
                 ORDER AND PRELIMINARY INJUNCTION

       Plaintiff Ralls Corporation hereby provides notice to this Court that it is withdrawing its

Motion for Temporary Restraining Order and Preliminary Injunction filed September 13, 2012

(Dkt. #7). This withdrawal follows an agreement between the parties concerning the resumption

of certain preliminary construction activities regarding the Butter Creek Projects. The parties

will promptly confer and submit to the Court a joint proposed briefing schedule or, if agreement

on a schedule cannot be reached, a statement of the parties’ respective positions.
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                             Respectfully submitted,

                               /s/ Paul D. Clement                  .
                             Paul D. Clement (D.C. Bar No. 433215)
                             Viet D. Dinh (D.C. Bar No. 456608)
                             H. Christopher Bartolomucci (D.C. Bar No. 453423)
                             George W. Hicks, Jr. (D.C. Bar No. 499223)
                             Brian J. Field (D.C. Bar No. 985577)
                             BANCROFT PLLC
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                             Steven S. Honigman (D.C. Bar No. 201020)
                             500 East 77th Street
                             New York, New York 10162
                             (202) 549-4917

                             Counsel for Plaintiff Ralls Corporation


Dated: September 19, 2012




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 19, 2012, I filed the foregoing Notice of Withdrawal

of Motion for Temporary Restraining Order and Preliminary Injunction with the ECF system for

the United States District Court for the District of Columbia, thereby effecting service on all

parties required to be served.




                                                    /s/ George W. Hicks, Jr.    .
                                                   George W. Hicks, Jr.
